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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                           HARRISONBURG DIVISION


                                                          Action No: 3:17cv00072
  Elizabeth Sines, et al                                  Date: 12/12/18
  vs.                                                     Judge: Joel C. Hoppe, USMJ
                                                          Court Reporter: Karen Dotson, FTR
  Jason Kessler, et al
                                                          Deputy Clerk: Karen Dotson



  Plaintiff Attorney(s)                           Defendant Attorney(s)
  Roberta Kaplan, Gabrielle Tenzer,               James Kolenich, John DiNucci,
  Philip Bowman, Chris Greene,                    David Campbell
  Alan Levine, Yotam Barkai



                                      LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                           DEFENDANT:
  1.                                              1.



  PROCEEDINGS:

  Motion Hearing - #372 Motion to Withdraw as counsel

  Parties discuss Discord, subpoena on discord
  Defense arges motion to withdraw as counsel for dfts Ray and Heimbach
  Plaintiff aruges for Mr. Kolenich to stay in the case to represent dfts Ray and Heimbach
  Court wants plaintiff's counsel, Mr. Ray and Mr. Heimbach on phone with Mr. Kolenich to discuss
  representation
  Parties discuss ESI




  Time in Court: 2:37 - 3:26 = 49 minutes
